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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

          Plaintiff,
 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLEY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

          Defendants.


         ORDER GRANTING UNOPPOSED MOTION FOR PROTECTIVE ORDER


          This matter is before the Court on the government’s Unopposed Motion for Protective Order.

 Having reviewed the motion, and finding good cause shown, the Court ORDERS as follows:

          A.       Defense counsel shall exercise reasonable care in ensuring the confidentiality of all

 disclosed tax materials, documents disclosed that contain return information as defined in 26 U.S.C.

 § 6103, any notes or other materials prepared based upon or referring to information in the tax returns

 or return information, any documents containing Personal Identifying Information (PII) , 1 any

 documents or materials reflecting financial information for the alleged victim company, and any


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   PII includes information that can be used to identify a person, including home address, date of birth, full names of
 minors, Social Security number, tax identification number, driver’s license number, and financial account
 information. See Fed. R. Crim. P. 49.1 (defining requirements for redaction for documents filed with the court).

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 photographs or depictions of minor children (collectively, the “Protected Information”). Defense

 counsel shall use the Protected Information exclusively in connection with this case (including trial

 preparation, motions practice, trial, and appeals or other related legal proceedings), and for no other

 purpose. Each individual defendant is, however, authorized to use in any lawful manner Protected

 Information that (a) reflects only his or her own PII or that of the individual defendant’s minor

 children, and (b) contains no other person’s PII or any financial information about victims or other

 third parties.

         B.       The Protected Information may be viewed only by the defendants (subject to the

 conditions set forth in paragraph D), defense counsel, and such members of defense counsel’s staff

 as are necessary for the purposes outlined above and, as it pertains to staff, only while necessary staff

 are operating under the direct supervision and control of defense counsel. Defense counsel shall

 ensure that all persons in their offices who are to handle the Protected Information read the protective

 order and are informed of their responsibility to safeguard this information.            The Protected

 Information may also be shared with defense experts, but such experts must read the protective order

 in advance of provision of the Protected Information and be informed of their responsibility to

 safeguard this information.

         C.       Defense counsel shall make only such copies of or provide electronic access to the

 information described in paragraph (B) as is necessary to prepare a defense of this criminal case.

 Defense counsel shall keep a written record concerning how many copies were made, to whom those

 copies were delivered, and the dates of delivery and if access is provided to any person electronically,

 defense counsel shall keep a written record reflecting who was provided electronic access. Defense

 counsel shall also deliver a copy of the protective order with the materials, whether they are provided

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 in physical copy or electronically.

          D.     Defense counsel is authorized to make only those copies of the Protected Information

 for the defendant(s) they represent that are necessary for the defense of the case, and/or to provide

 the defendant with electronic access to the Protected Information. In the case of physical copies,

 defendants must store, secure, hold, and control their copy or copies of the Protected Information,

 and in the case of electronic access, defendants must store, secure, hold, and control their individual

 credentials to electronically access the Protected Information. Whether their access to the materials

 is through physical copy or electronically, defendants may not make any further copies of the

 Protected Information nor may they distribute or transmit the Protected Information to any party

 outside the scope of paragraph B, with the exception noted in paragraph A that each individual

 defendant is authorized to use in any lawful manner Protected Information that (a) reflects only his

 or her own PII or that of the individual defendant’s minor children, and (b) contains no other person

 or entity’s PII or any financial information about victims or other third parties.

          E.     A copy of the protective order shall be kept with the Protected Information.

          F.     After all direct and collateral appeals have been exhausted in this matter,, defense

 counsel within thirty days of final order on the last direct or collateral appeal shall collect and destroy

 all copies of the Protected Information, with the exception of counsel’s notes or work product that

 may contain return information, which defense counsel will retain consistent with the terms of this

 Order.

          G.     If a document containing Protected Information is filed with the court, the filing party

 must either redact the Protected Information from the document or, if the Protected Information is

 material to the court’s determination, shall file the document as restricted at Level 1.

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        H.      All parties are prohibited from use of any photographs or visual depictions of any

 minors produced in discovery in any Court proceeding or filing absent prior permission of the Court.

        Dated this ____ day of March, 2021, at Denver, Colorado.

                                                      BY THE COURT:

                                                      ____________________________
                                                      Daniel D. Domenico
                                                      United States District Judge




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